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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             2:16-CR-00183-EFB
12                   Plaintiff,
                                                           FINAL ORDER OF FORFEITURE
13           v.
14   LAWRENZO C.P. MANZA,
       aka Larry Manza,
15
                     Defendant.
16

17

18          On or about February 17, 2017, this Court entered a Preliminary Order of Forfeiture pursuant to

19 the provisions of 16 U.S.C. § 470gg(b) and 28 U.S.C. § 2461(c), based upon the plea agreement entered

20 into between plaintiff and defendant Lawrenzo C.P. Manza forfeiting to the United States the following

21 property:

22          a.       Archaeological resources taken from the Emigrant Trail listed in Attachment A hereto.

23          Beginning on February 22, 2017, for at least 30 consecutive days, the United States published

24 notice of the Court’s Order of Forfeiture on the official internet government forfeiture site

25 www.forfeiture.gov. Said published notice advised all third parties of their right to petition the Court

26 within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the

27 validity of their alleged legal interest in the forfeited property.

28          The Court has been advised that no third party has filed a claim to the subject property, and the
                                                           1
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 1 time for any person or entity to file a claim has expired.

 2          Accordingly, it is hereby ORDERED and ADJUDGED:

 3          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States all right, title,

 4 and interest in the above-listed property pursuant to 16 U.S.C. § 470gg(b) and 28 U.S.C. § 2461(c),

 5 including all right, title, and interest of Lawrenzo C.P. Manza. The above-listed property shall be

 6 disposed of according to law.

 7          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

 8 United States of America.

 9          3.      The U.S. Forest Service shall maintain custody of and control over the subject property

10 until it is disposed of according to law.

11          SO ORDERED this 18th day of May, 2017.

12
                                                            ______________________
13                                                          EDMUND F. BRENNAN
                                                            United States Magistrate Judge
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 1                                             Attachment A
                                           Archaeological Resources
 2

 3 Horse and Oxen Shoes

 4   Quantity                                    Description
        5         Large draft horse shoes
 5
        3         Standard horse shoes
 6      3         Cleated standard horse shoes
        3         Ox shoes
 7

 8 Miscellaneous
   Quantity                                    Description
 9
       1       Brass keyhole cover, 1 and ½” x 1 and ¼”, with 4 nail or screw holes.
10             Has 426 stamped on obverse face.
       1       “Bail” for can or pot. Constructed of 1/8th” wire, bail is 2 and 1/8th” x 1
11             and ¼”
12     1       Metal cap gun, vintage 1935 Stevens Buddy
       1       Large handle 5 and ½” x 3 and 3/8th” metal, has attachments on end for
13             screwing to box or? A single screw hole on each attachment.
       1       Metal ring 5 and 5/8th” diameter x 2” x 1/8th” thick. Hand wrought, has 2
14             square nails affixed to run thru interior. Possible wagon wheel hub.
15     1       Large eye bolt ½” diameter wire rod, 1 and 7/8th” diameter

16 Bullets

17   Quantity                                     Description
        5         Lead balls, 5/16” diameter to 7/16th” diameter
18      2         Lead bullets, both flattened, one may have been bullet shaped, the other a
                  flattened ball.
19
         1        30-30 Super X centerfire, brass shell casing
20       1        Brass bullet, not discharged, centerfire, with label on bottom “FMARC”
                  1945
21
     Pottery and Glass, Clothing Items
22
     Quantity                                    Description
23
        1         Flow Blue pottery plate rim fragment
24      1         Prossor type white button
        1         Small brass button with steel hook, 7/8th” wide, 1” deep, 1/8th” shank
25
        1         Handle to fork or spoon – has nails/fasteners to affix wood or bone handle
26

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                                                        3
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 1 Nails, Screws, Fasteners

 2   Quantity                                    Description
        1       Square cut nail, 1 and ½” length, 4d (penny)
 3
        3       Square cut nails, 2”, 6d (penny)
 4      5       Square cut nails, 2 and ¾”, 9d (penny)
        3       Square cut nails, 3”, 10d (penny)
 5
        2       Large head square cut nails, possible horse or ox shoe, one is 2 and 1/8th”
 6              ca. 7d, and other is 2 and ½” 8d (penny)
        2       Large head square cut nails, 2 and ½” length 8d, with ½” heads
 7
        1       Large head square cut nail, 2 and ¾”, 9d, with ½” head
 8      1       Large head square cut nail fragment, with ¾” head
        1       Square cut spike 5 and 5/8th” long, 5/8th” head
 9
        1       Oblong ring of 1/8th” wire, 1 and ½” wide by 1 and 1/8th” high
10      1       Square shank carriage bolt fragment, 7/16th” square shank, 1” head
11      1       Steel riveted button head 11/16th” dia. 3/8th” high
        1       Steel fastener head, probably had screw base, ½” head, 3/16” shank, 5/8th”
12              base, 5/8th” high
        1       Square, threaded nut (3/8th” threaded hole) with attached 1 and ¼” welded
13              head (with cap)
14      1       Section of small chain, 28” long, ¾” x ½” flat chain links
        1       Harness piece, may be a bit portion. 2 and 3/8th” ring of 3/8th” wire and bit
15              part encircling
16      1       Harness hook with flat locking plate (missing), 3 and 1/4” in size
        1       2 and 7/8th” chain link of 3/16th” wire.
17      1       “U” shaped steel object 3” long x 1 and 3/8th” wide. Has 3/8th” shank with
                flattened tips graded thin for driving into wood. Tips show crimping
18              3/16th” on end, each crimped in opposite directions.
19      1       Staple, 2 and 1/8th” wide x 2” long, with 1/8th” thick, ½” wide. Ends of the
                staple are tapered to a point and crimped for fastening.
20      1       Plate (metal), 5 and 7/8th” x 3” x 1/8th” thick. Has square nails in 4 corners.
                Also has ¾” hand cut hole, off-center
21
        1       4 and ¾” ring of 3/8th” wire
22      1       Steel ring, 8” diameter, 1” wide x 1/8th” thick, hammered wrought steel,
                hand forged
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                                                                                            Final Order of Forfeiture
